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\®* — United States District Court \°/

M4 Western District of Washington He

   

 

UNITED STATES OF AMERICA, APPEARANCE BOND

VS

KRISTEN LECCESE CASE No: CR20-151 RAJ

I understand that I may be released from custody, pending further proceedings in this case, on the conditions marked below:

Court Appearances. | must appear in court at the United States Courthouse, 700 Stewart Street, Seattle, Washington; Courtroom
13106, on Monday, December 21, 2020 at 9:00 AM and at all other hearings in this case, including turning myself in to begin
serving a sentence, should that occasion arise. T!'UNDERSTAND THAT A WILLFUL FAILURE TO APPEAR IN COURT AT A TIME
SET FOR HEARING IS A SEPARATE CRIMINAL OFFENSE, PUNISHABLE BY UP TO 10 YEARS IMPRISONMENT AND A FINE
OF $250,000.

No Law Violations. | must not commit a federal, state, or local crime during the period of release. I understand that if | commit a
felony while on release, my sentence can be increased by a maximum of ten years. If ] commit a misdemeanor while on release,
my sentence can be increased by a maximum of one year. These sentences would be consecutive to all other applicable sentences.
DNA Testing. I must cooperate in the collection of a DNA sample if the collection is authorized by 42 U.S.C. § 14135a.

No Controlled Substances. I must not use, consume or possess any controlled substances, including medication, unless prescribed
by a physician and approved in advance by the Pretrial Services Officer.

Address. I must furnish my attorney, and/or Pretrial Services if supervised, with my current address and telephone number (if any)
where I will reside upon release and where I will receive any notices of hearing dates. I must report any changes in that address or
telephone number to my attorney, and/or Pretrial Services if supervised, within one business day.

Restrictions on Travel. I must not travel outside the Continental United States or as directed by Pretrial Services

Victim and Witness Protection. | must not harass, threaten, intimidate, tamper with, improperly influence, or injure the person or
property of witnesses, jurors, informants, victims of crime, judicial officers, or other persons related to official proceedings before
the Court, in violation of 18 U.S.C. § 1503, 1512, and 1513.

Pretrial Supervision. I am subject to Pretrial Services supervision by the Pretrial Services Office of the Court and must abide by
such of the general and special conditions of release as that office shall impose. I must report to the Office of Pretrial Services,
(206) 370-8550, United States Courthouse, 700 Stewart Street, Seattle, Washington within 24 hours of my release unless released
during a weekend or on a holiday in which case I must report at 9:00 a.m. the following court day.

The defendant has had a full opportunity to review this Appearance Bond and confer with his/her attorney. During the initial
appearance and detention hearing, conducted by video/telephone during the COVID-19 Health Emergency, defendant orally
agreed to be bound by the terms of the bond. A copy of this executed document shall be provided to the defendant at the hearing’s
conclusion via US Marshal.

OTHER SPECIAL CONDITIONS:

Travel is restricted to the Western District of Washington, the Eastern District of New York, and the Southern District of New
York, or as directed by Pretrial Services.

Surrender all current and expired passports and travel documents to Defense Counsel. Do not apply for/obtain a new passport or
travel document from any country without permission of the court. If the surrendered passport is a foreign passport, it shall be
forwarded to Immigration and Customs Enforcement if defendant is convicted of an offense, unless otherwise ordered by the
Court.

Maintain residence as directed. Do not change residence without prior approval of Pretrial Services or as directed by Pretrial
Services.

Provide Pretrial Services with any requested information regarding your financial status, income sources, and investments. Sign a
Release of Information form for Credit Bureau Verification if requested by Pretrial Services.

Maintain employment, or, if unemployed, actively seek employment as directed by Pretrial Services.

You shall not have direct contact or indirect contact with any existing and/or future co-defendant(s) in this case, except Joseph
Nilsen.

You shall not have direct contact or indirect contact with any existing and/or future witnesses in this case, except Joseph Nilsen.
The defendant shall abide by all federal, state, and local directives regarding the COVID-19 pandemic.
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Appearance Bond

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AGREEMENT BY DEFENDANT: | understand and agree to comply with every condition marked above, and I understand that if I fail
to comply with any conditions of my release, the Court will immediately issue a warrant for my arrest, and I will be subject to a revocation
of release, an order of detention, and prosecution for contempt of court. I understand this appearance bond remains in effect during any
proceeding on appeal or review.

/s/ Kathleen Cassidy for

 

 

X__ Kristen Leccese October 16, 2020 SEATTLE, WA
Signature Date Signed City, State
ORDER OF RELEASE
It is therefore ORDERED:

(1) Defendant shall comply with all conditions of this appearance Bond;
(2) Defendant shall be released from custody, and shall remain at liberty so long as he or she complies with the provisions of this Appearance Bond, or
until further order of the Court.

October 16, 2020

 

 

Date Signed Brian A. Tsuchida
UNITED STATES CHIEF MAGISTRATE JUDGE

cc: Defendant, Defense Counsel, U.S. Attorney, U.S. Marshal, Pretrial Services
